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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

GREG GIANFORTE, in his official                    CV-20-62-GF-BMM
capacity as Governor of Montana;
MONTANA DEPARTMENT OF
NATURAL RESOURCES                                        ORDER
AND CONSERVATION,

                      Plaintiffs,

       v.

BUREAU OF LAND MANAGEMENT; et
al.,

                      Defendants.


      The Court granted Plaintiffs’ motion for summary judgment, (Doc. 10),

declaring William Perry Pendley served unlawfully as the Acting BLM Director for

424 days; enjoining William Perry Pendley from exercising authority of BLM

Director; enjoining Interior Secretary David Bernhardt from unlawfully delegating

the authority of the BLM Director; and declaring the Lewistown RMP, Missoula

RMP, and Miles City RMP amendment unlawful. (Docs. 25 & 33). Defendants

appealed and argued that the case became moot as a result of the Secretary of the

Interior’s independent review and approval of the RMPs, and because Pendley and

Bernhardt left their federal offices following the January 2021 change in
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Administration. (9th Cir. 20-36129 Docs. 16 & 21). The Ninth Circuit agreed that the

case is moot and accordingly dismissed the appeal. (9th Cir. 20-36129 Doc. 22). The

Ninth Circuit denied the Parties’ request for partial vacatur of the judgment and

instead remanded for this Court to determine whether and to what extent the

judgment should be vacated. (Id.)

      The Parties shall submit a joint status report regarding the status of any

remaining issues before this Court. The parties shall address, in particular, any issues

subject to the motion to vacate considered by the Ninth Circuit’s order. (Id.) The

status report must be submitted by October 6, 2021.

      DATED this 21st day of September, 2021.




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